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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )                  4:11CR3089
                                            )
            v.                              )
                                            )
FRANK RODRIGUEZ III,                        )       MEMORANDUM AND ORDER
                                            )
                   Defendants.              )
                                            )


     At the Defendant’s oral request and with the parties’ consent,

     IT IS ORDERED:

     1)     The defendant’s change of Plea Hearing is continued to March 15, 2012 at
            9:30 a.m.

     2)     The ends of justice served by granting defendant’s request to change the plea
            hearing outweigh the interests of the public and the defendant in a speedy trial,
            and the additional time arising as a result of the granting of the motion, the
            time between today’s date and the anticipated plea of guilty, shall be deemed
            excluded in any computation of time under the requirements of the Speedy
            Trial Act, for the reason that defendant’s counsel requires additional time to
            adequately prepare the case, taking into consideration due diligence of counsel,
            the novelty and complexity of the case, and the fact that the failure to grant
            additional time might result in a miscarriage of justice. 18 U.S.C. §
            3161(h)(7).


     DATED this 23rd day of February, 2012.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge
